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  IN THE DISTRICT COURT OF THE UNITED STATES

                for the Western District of New York
                             ________________



                                                NOVEMBER 2014
                                                GRAND JURY
                                                (Impaneled 11/07/2014)

THE UNITED STATES OF AMERICA                    SECOND
      -vs-                                      SUPERSEDING
DAVID PIRK                                      INDICTMENT
      (Counts 1-2, 19-22, 45-46),
ANDRE JENKINS a/k/a Little Bear                 15-CR-142-W
      (Counts 1-2, 19-23, 45-46),
TIMOTHY ENIX a/k/a Blaze                        Violations:
      (Counts 1-2, 45-46),                      Title 18, United States Code,
FILIP CARUSO a/k/a Filly                        Sections 922(g)(1), 924(c)(1)(A)(i),
      (Counts 1-2, 34-40, 45-46),               924(c)(1)(A)(ii), 924(c)(1)(A)(iii),
EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed       924(j), 1503, 1512(c)(2), 1623(c),
      (Counts 1-2, 10-16, 39-40, 45-46),        1951(a), 1959(a)(1), 1959(a)(3),
JASON WILLIAMS a/k/a Toop                       1959(a)(5), 1959(a)(6), 1962(d), 3
      (Counts 1-2, 37-40, 45-46),               and 2; Title 21, United States
THOMAS KOSZUTA a/k/a Kazoo                      Code, Sections 841(a)(1), 846, and
      (Counts 1-2, 10-18, 45-46),               856(a)(1) (46 Counts and 4
GREGORY WILLSON a/k/a Flip                      Forfeiture Allegations)
      (Counts 1-16, 45-46),
EMMETT GREEN
      (Counts 1-2, 43-46),
ROBERT OSBORNE, JR.
      (Counts 1-2, 24-26, 41-42, 45-46),
STANLEY OLEJNICZAK
      (1-2, 10-13, 45-46),
JACK WOOD a/k/a Jake a/k/a Snake
      (Counts 1-2, 31-33, 45-46),
RYAN MYRTLE
      (Counts 1-2, 39-40, 45-46),
THOMAS SCANLON a/k/a Tom
      (Counts 1-2, 27-30, 41-42, 45-46),
GLEN STACHARCZYCK a/k/a Turbo
      (Counts 1-2, 39-40, 45-46), and
SEAN MCINDOO a/k/a Professor
      (Counts 1-2, 14-16, 45-46)
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                                        COUNT 1

                                    (RICO Conspiracy)

                              The Grand Jury Charges That:

                                       Introduction

               At all times relevant to the Second Superseding Indictment:

       1.     The Kingsmen Motorcycle Club (“KMC”) was a motorcycle organization

comprised of individual chapters located in various counties, cities, and towns in New

York, Pennsylvania, Tennessee, and Florida. KMC Chapters in the Western District of

New York were located in North Tonawanda, Buffalo, Delevan/Arcade, Olean, and

Lockport, and were formerly also located in the West Side/Riverside section of Buffalo,

Springville, Attica, and Gowanda.



       2.     The KMC was started in or about 1959 in Lockport, New York. The KMC’s

structure, rules, and chain of command were governed by written by-laws. Pursuant to the

by-laws, the KMC was “one club, not separate clubs divided by states or cities.”



       3.     KMC members were expected to abide by the by-laws, and failure to do so

could result in punishment ranging from fines, assaults, or expulsion from the organization.

Expulsion from the organization was referred to as being “out bad,” at which time other

KMC members were to cease all contact with expelled members.



       4.     The KMC imposed additional rules known to the members, but, intentionally

not written into the by-laws in the event law enforcement came into possession of them.



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One such unwritten rule was that members were not to speak to law enforcement. If it

became known that a member talked to law enforcement that member was subject to being

expelled from the club.



        5.       Each KMC chapter had a hierarchical rank structure consisting of a President,

Vice President, Sergeant at Arms, Treasurer, and Secretary.         Chapter Presidents were

generally responsible for overseeing the chapter, building its membership, and ensuring its

profitability.    Chapter Vice Presidents were generally responsible for the day-to-day

operations of the chapter, and carrying out the orders of the Chapter President. Chapter

Sergeant-at-Arms were responsible for maintaining security and order within a particular

chapter. Chapter Secretaries were generally responsible for generating meeting minutes.

Chapter Treasurers were responsible for accounting and tabulating monies collected from

the collection of monthly membership dues and the illegal sale of illicit commodities

occurring in the KMC chapter clubhouses.



        6.       Local chapter officers answered to regional officers, including a Regional

President. Regional officers answered to national officers. National officers included the

President and the Nomad President. The National President oversaw all KMC chapters

nationwide, and the Nomad President oversaw all KMC Nomads.



        7.       A KMC Nomad was a KMC member who was not required to regularly

attend all of the enterprise’s meetings and other events, but was expected to serve the

interests of the KMC enterprise, including fighting other clubs and committing violent




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crimes on behalf of the KMC. The KMC Nomads answered only to the National President,

or Regional Presidents passing down orders to the Nomad President from the National

President.



       8.     To join the KMC, applicants were required to complete an initiation process.

During this period, prospective members, known as “strikers,” were expected to assist the

KMC with all of its activities, including activities which were criminal in nature. Before a

striker was able to become a “full patch” member of the KMC, they must have earned a

“top rocker” patch, “bottom rocker” patch, and the “center” KMC patch.



       9.     KMC members generally referred to one another by their “club names” and

in some cases did not know fellow KMC members except by their club names. KMC

members were also eligible to obtain rank within the organization providing further means

of identification within the KMC.



       10.    KMC members paid monthly dues, which were divided between the local

chapter and National chapter.



       11.    KMC members wore leather vests or jackets with the KMC emblem on the

back. These vests were commonly referred to as “colors” or “patches.” In addition to the

KMC emblem on the back, the club’s “colors” displayed other symbols such as rank and

club location. The KMC “colors” and “patches” were distinctive to the KMC, and were

items of significant value to the KMC and KMC members.




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       12.    KMC members were expected to follow orders issued by the National

President, Regional Presidents, their own chapter Presidents, and other leaders within the

KMC. These orders included committing acts of violence to include, assaulting rivals and

non-compliant KMC members, shootings, and acts involving murder.



       13.    KMC members were expected to attend mandatory parties and to visit other

KMC chapters in New York, Pennsylvania, Florida, and Tennessee.



       14.    KMC members were expected to follow club rules, enforce club rules, and to

protect and defend the reputation of the KMC at all times.



       15.    KMC chapter clubhouses were maintained by the KMC, and entry to and

egress from each clubhouse was strictly controlled by the KMC. Members of the public

were permitted into the clubhouses only if they were with a KMC member or if they had a

“courtesy card” from a KMC member.



       16.    KMC chapter clubhouses maintained firearms and ammunition to defend the

KMC against rival motorcycle gangs and to protect club proceeds.



       17.    KMC chapter clubhouses maintained a supply of untaxed cigarettes, obtained

from area Indian Reservations tax free, which were routinely sold for profit inside the KMC

clubhouses.




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        18.    KMC chapter clubhouses permitted illicit drug use and distribution, including

cocaine, marijuana, and other controlled substances, between club members, associates,

friends, and supporters of the KMC.



        19.    KMC clubhouses maintained a fully stocked bar, with a wide selection of

beer and liquor, sales of which were utilized to generate income for the KMC.



        20.    Certain KMC clubhouses maintained gambling devices and machines, such

as slot and poker machines, as a means to generate income for the KMC.



        21.    Individual KMC members and associates maintained access to firearms,

including handguns, rifles, and shotguns.



        22.    Girlfriends and wives of KMC members, referred to as “Old Ladies”, were

loyal to the club, followed club rules, and assisted KMC members in criminal and other

activities.



        23.    In 2013, certain KMC members sought to establish the KMC as a 1% club.

The 1% notoriety referenced a view once articulated by a representative of the American

Motorcycle Association that 99% of motorcyclists were law-abiding citizens with the

remaining 1% engaged in certain activity such as drug trafficking, firearm trafficking, and

acts of violence.




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       24.     Following the 2013 determination for KMC to became a 1% club, violence

and other criminal activity occurred within and among KMC chapters and clubhouses

involving those KMC members who wished to leave the KMC and join rival motorcycle

organizations.



                                      The Enterprise

       25.     At all times relevant to this Second Superseding Indictment, there existed in

the Western District of New York, and elsewhere, a criminal organization, namely the

Kingsmen Motorcycle Club (“KMC”). The KMC, including its’ leadership, members, and

associates constituted an enterprise, as defined by Title 18, United States Code, Section

1961(4), that is, a group of individuals associated in fact, the activities of which affected

interstate and foreign commerce, consisting of the defendants DAVID PIRK, ANDRE

JENKINS a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze, FILIP CARUSO a/k/a

Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a

Toop, THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip,

EMMETT GREEN, ROBERT OSBORNE, JR., STANLEY OLEJNICZAK, JACK

WOOD a/k/a Jake a/k/a Snake, RYAN MYRTLE, THOMAS SCANLON a/k/a

Tom, GLEN STACHARCZYCK a/k/a Turbo, SEAN MCINDOO a/k/a Professor, and

others, known and unknown. The enterprise constituted an ongoing organization whose

members functioned as a continuing unit for a common purpose of achieving the objectives

of the enterprise.




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                                Roles in KMC Enterprise

       26.    In addition to being KMC members and associates, the defendants served in

various roles within the KMC enterprise, including the following:

       a.     Defendant DAVID PIRK was a KMC National President.

       b.     Defendant ANDRE JENKINS was a KMC member and Nomad.

       c.     Defendant TIMOTHY ENIX was a KMC member and Florida/Tennessee
              Regional President.

       d.     Defendant FILIP CARUSO was a KMC member and New York Northern
              Regional KMC President.

       e.     Defendant EDGAR DEKAY, II was a KMC member, President of the
              North Tonawanda Chapter, and Nomad President.

       f.     Defendant JASON WILLIAMS was a KMC member and Vice President of
              the North Tonawanda Chapter.

       g.     Defendant THOMAS KOSZUTA was a KMC member and Nomad.

       h.     Defendant GREGORY WILLSON was a KMC member and Nomad.

       i.     Defendant EMMETT GREEN was a KMC member and Arcade/Delevan
              Chapter President, New York Southern Tier Regional President, and New
              York Regional President.

       j.     Defendant ROBERT OSBORNE, JR. was a KMC member and Olean
              Chapter President

       k.     Defendant STANLEY OLEJNICZAK was a KMC member.

       l.     Defendant JACK WOOD was a KMC member and Sergeant at Arms of the
              Arcade Chapter.

       m.     Defendant RYAN MYRTLE was a KMC member and North Tonawanda
              Chapter President.

       n.     Defendant THOMAS SCANLON was a KMC member, Olean Chapter
              President, Nomad, and New York Regional President.

       o.     Defendant GLEN STACHARCZYCK was a KMC member and North
              Tonawanda Chapter President.


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       p.       Defendant SEAN MCINDOO was a KMC member and Nomad.



                                  Purposes of the Enterprise

       27.      The purposes of the KMC enterprise included the following:

       a.       Promoting and enhancing the enterprise and its members and associates

activities, including, but not limited to, distribution of controlled substances, maintaining

premises for use and distribution of controlled substances, possession, use and sale of

firearms, sale of untaxed cigarettes, and other criminal activities including promoting

prostitution;

       b.       Preserving and protecting the power, territory, and reputation of the

enterprise and its’ members through intimidation, violence, threats of violence, assaults,

murder, and attempted murder;

       c.       Placing victims, potential victims, potential witnesses, and others in fear of

the enterprise, its members, and associates, through violence and threats of violence; and

       d.       Generating and maximizing the profits, reputation, and membership of the

enterprise from a variety of illegal activity including but not limited to drug trafficking,

firearm sales, sale of untaxed cigarettes, sale of alcohol, gambling, robbery, and prostitution.



                                The Racketeering Conspiracy

       28.      Beginning on a date unknown, but starting no later than the year 2006, and

continuing to the date of the return of this Second Superseding Indictment, in the Western

District of New York, and elsewhere, the defendants, DAVID PIRK, ANDRE JENKINS

a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze, FILIP CARUSO a/k/a Filly,



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EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a Toop,

THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, EMMETT

GREEN, ROBERT OSBORNE, JR., STANLEY OLEJNICZAK, JACK WOOD a/k/a

Jake a/k/a Snake, RYAN MYRTLE, THOMAS SCANLON a/k/a Tom, GLEN

STACHARCZYCK a/k/a Turbo, SEAN MCINDOO a/k/a Professor, and others

known and unknown, being persons employed by and associated with the KMC enterprise,

which enterprise was engaged in, and the activities of which affected, interstate and foreign

commerce, did knowingly, willfully, and unlawfully, combine, conspire, confederate, and

agree, together and with others, to violate Title 18, United States Code, Section 1962(c),

that is, to conduct and participate, directly and indirectly, in the conduct of the affairs of the

enterprise through a pattern of racketeering activity, as defined in Title 18, United States

Code, Section 1961(1) and (5), consisting of:

       a.      Multiple threats and acts involving:

               (1)    Murder, in violation of New York Penal Law                         Sections
                      125.27(1)(a)(viii), 125.25(1),100.10, 105.15, 110 and 20;

               (2)    Murder, in violation of Florida Statutes Annotated Section
                      782.04(1)(a)(1), 782.04(1)(a)(2)(d)-(f), and 777.04(1)-(3);

               (3)    Robbery, in violation of New York Penal Law Sections 160.15(1),
                      160.15(2), 160.15(3), 160.15(4), 160.10(1), 160.10(2),105.10, 105.13,
                      105.15, 110, and 20;

               (4)    Robbery, in violation of Florida Statutes Annotated Sections
                      812.13(1), and 777.04(1)-(3);

               (5)    Kidnapping, in violation of Florida Statutes Annotated Sections
                      787.01(1)(a)(1)-(3), and 777.04(1)-(3);

       b.      Multiple offenses involving the manufacture, importation, receiving,
               concealment, selling, and distribution of controlled substances in violation of
               the following provisions of federal law:



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                (1)    Title 21, United States Code, Section 846 (Conspiracy to Possess with
                       Intent to Distribute, and to Distribute, Controlled Substances);

                (2)    Title 21, United States Code, Section 841(a)(1) (Possession with Intent
                       to Distribute, and Distribution, of Controlled Substances);

                (3)    Title 21, United States Code, Section 856(a)(1) (Maintaining Drug
                       Involved Premises);

        c.      Multiple acts indictable under the following provisions of federal law:

                (1)    Title 18, United States Code, Section 1503 (Obstruction of Justice);

                (2)    Title 18, United States Code, Section 1512(a) (Witness Tampering);

                (3)    Title 18, United States Code, section 1951(a) (Hobbs Act Robbery);

                (4)    Title 18, United States Code, Section 2342(a) (Trafficking of
                       Contraband Cigarettes).



        29.     It was part of the conspiracy that the defendants, DAVID PIRK, ANDRE

JENKINS a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze, FILIP CARUSO a/k/a

Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a

Toop,        THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip,

EMMETT GREEN, ROBERT OSBORNE, JR., STANLEY OLEJNICZAK, JACK

WOOD a/k/a Jake a/k/a Snake, RYAN MYRTLE, THOMAS SCANLON a/k/a

Tom, GLEN STACHARCZYCK a/k/a Turbo, SEAN MCINDOO a/k/a Professor,

and others, known and unknown, agreed that a conspirator would commit at least two acts

of racketeering in the conduct of the affairs of the enterprise.




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                                    Manner and Means

       30.    The manner and means by which the defendants and associates agreed to

conduct and participate in the conduct of the KMC enterprise to further the goals of the

enterprise and achieve its purposes included, but was not limited to, the following:

       a.     Members of the enterprise were expected to learn and abide by the rules and

code of conduct of the enterprise, including the written by-laws and unwritten rules, with

violence meted out to members who broke these rules;

       b.     Members of the enterprise agreed to make efforts to avoid detection by law

enforcement, and to refuse to cooperate with law enforcement;

       c.     Members of the enterprise held meetings, referred to as “church,” in which

they discussed, among other things, the structure and organization of the enterprise; the

finances of the enterprise; threats posed by rival motorcycle gangs and the status of disputes

with rival motorcycle gangs; actual or perceived law enforcement activity directed at the

enterprise; the status of arrested and incarcerated members and associates of the enterprise;

disciplinary measures to be taken against members of the enterprise who violated rules;

collection of money used to aid other members; violent crimes to be committed by the

members of the enterprise or acts of violence committed by rival motorcycle gangs or

noncompliant members against the enterprise; ways to conceal criminal activity committed

by the enterprise, its members, and associates; and reinforcement of KMC rules;

       d.     Members and associates of the enterprise purchased, stored, maintained, and

circulated firearms, and agreed that club members and clubhouses would possess and

contain firearms, for use in criminal activity by members and associates, in order to defend




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KMC members and associates, and to retaliate against rival motorcycle gangs and other

rivals who pose a threat to the KMC;

       e.     Members and associates of the enterprise agreed that the club and club

members would maintain certain premises including but not limited to KMC clubhouses for

the manufacture, importation, receiving, concealment, selling, and distribution of controlled

substances;

       f.     Members and associates of the enterprise agreed that the club and club

members would maintain certain premises including but not limited to KMC clubhouses for

the sale and distribution of various alcohol and tobacco products in violation of local, state

and federal law;

       g.     Members and associates of the enterprise committed, and agreed that other

members would commit, certain acts of violence, including murder, attempted murder,

assault with dangerous weapons, assault, kidnaping, and other acts of violence to protect,

preserve, and expand the enterprise’s reputation and criminal operations;

       h.     Members and associates of the enterprise protected, and agreed to protect,

higher ranking members of the enterprise;

       i.     Members and associates of the enterprise protected, and agreed to protect, the

enterprise by refusing to cooperate with law enforcement, members and associates of the

enterprise committed, and agreed that any member or associate who cooperated with law

enforcement would be subject assault, menacing and other acts of violence, as well as

removal from the KMC enterprise;

       j.     Members and associates of the enterprise promoted a climate of fear through

violence and threats of violence;




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       k.     Members and associates of the enterprise protected, and agreed to protect, the

enterprise by committing various acts of violence, including but not limited to assault,

menacing, and robbery upon any other member, associate, or civilian who was either non-

complaint or perceived to be non-complaint with the established rules and procedures of the

enterprise;

       l.     Members used private Facebook messages and cellular phones to

communicate and conduct club business;

       m.     Members recruited women to perform “strip” dances inside KMC clubhouses

and to engage in sexual encounters with KMC members and associates in order to increase

club profits and membership; and

       n.     KMC members, including the defendant DAVID PIRK and other high-

ranking KMC members, preserved and protected the power, territory, and reputation of the

enterprise, and promoted and enhanced the enterprise and its members’ and associates’

activities by forcibly shutting down certain KMC chapters deemed non-compliant with

KMC rules and directives, by expanding and seeking to expand the presence of the KMC

into other chapters, cities, and states, and by retaliating against non-compliant members

who “jump patch” (a term used for leaving the Kingsmen to join a rival motorcycle club)

and provide information to rival motorcycle clubs.



                                        Overt Acts

       In furtherance of the conspiracy, and to affect the object and purposes thereof, the

defendants, and others known and unknown, committed various overt acts, including but

not limited to the following:



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       (1)    On or about September 12, 2009, defendant GREGORY WILLSON,

punched Victim A, a person known to the Grand Jury, in the face repeatedly while other

KMC members watched because Victim A attempted to exit a KMC clubhouse in

Meadville, Pennsylvania, in violation of KMC rules that only KMC members are able to let

someone in or out of a clubhouse.

       (2)    On or about September 12, 2009, defendant GREGORY WILLSON

confiscated Victim A’s cellular phone so that Victim A could not contact law enforcement

or any other person.

       (3)    On or about September 12, 2009, female associates of defendant GREGORY

WILLSON and the KMC attempted to clean Victim A’s face of blood in an effort to

conceal the assault.

       (4)    On or about September 12, 2009, a KMC member known to the Grand Jury

provided a helmet and sunglasses to Victim A in order to conceal injuries to Victim A’s face

while defendant GREGORY WILLSON transported Victim A on his motorcycle from

Pennsylvania to a residence in Olean, New York.

       (5)    From on or about September 13, 2009, through and including September 15,

2009, defendant GREGORY WILLSON and other members and associates of the KMC,

including members of his family, kept Victim A at a residence in Olean, New York against

her will to conceal her facial injuries from the authorities or any other person.

       (6)    From on or about September 13, 2009, through and including September 15,

2009, defendant GREGORY WILLSON and other members and associates of the

Kingsmen provided Victim A with, and administered to her, controlled substances,

including heroin.



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      (7)    From on or about September 12, 2009, through and including September 15,

2009, defendant GREGORY WILLSON and other members and associates of the

Kingsmen repeatedly sexually assaulted Victim A.

      (8)    From on or about September 15, 2009, until in or about early 2010, defendant

GREGORY WILLSON intermittently conducted surveillance on Victim A in order to

intimidate Victim A and dissuade Victim A from cooperating with authorities.

      (9)    At various times during his association and membership in the KMC,

defendant GREGORY WILLSON possessed with intent to distribute, and distributed,

cocaine, marijuana, and heroin.

      (10)   At various times during his association and membership in the KMC,

defendant GREGORY WILLSON possessed various firearms, including handguns and

long guns.

      (11)   In or about March 2013, during the course of “Bike Week” in Daytona,

Florida, defendants DAVID PIRK and EDGAR DEKAY, II and other KMC members

discussed the KMC becoming a 1% biker club.

      (12)   In or about 2013, the KMC members affiliated with defendant, DAVID

PIRK began eliminating non-compliant members remaining loyal to a former KMC

National President.

      (13)   On or about June 7, 2013, defendants THOMAS KOSZUTA, STANLEY

OLEJNICZAK, GREGORY WILLSON, and THOMAS SCANLON, and other KMC

members traveled to the Kingsmen Springville clubhouse in Springville, New York, on

orders from defendant EDGAR DEKAY, II, to forcibly shut down the chapter and strip




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Springville KMC members of their colors because they were deemed to be non-compliant

KMC members.

       (14)   On or about June 7, 2013, defendants THOMAS KOSZUTA, STANLEY

OLEJNICZAK, and GREGORY WILLSON, and others, some of whom possessed and

brandished firearms, surrounded the KMC Springville members and demanded to speak

with former Springville and Regional President Victim B, a person known to the Grand

Jury, in the Springville Chapter church room.

       (15)   On or about June 7, 2013, defendants GREGORY WILLSON and

THOMAS KOSZUTA, and other KMC members forced Victim B into the church room

and, defendant THOMAS KOSZUTA demanded Victim B’s colors and struck him in the

head with a blunt object when Victim B refused to comply.

       (16)   On or about June 7, 2013, after defendant THOMAS KOSZUTA struck

Victim B in the head with a blunt object, other KMC members, including defendants

GREGORY WILLSON, THOMAS KOSZUTA, and STANLEY OLEJNICZAK, stole

items from the Springville clubhouse, including but not limited to, United States currency,

cases of untaxed cigarettes, bottles of beer including Bud, Bud Light, and Labatt Blue,

bottles of liquor including bottles of Jose Cuervo and Jack Daniels, firearms, a flat screen

television, KMC t-shirts, KMC vests with patches, Victim B’s cell phone, Victim B’s KMC

ring, a KMC statue, and other items.

       (17)   On or about June 7, 2013, after defendants GREGORY WILLSON,

THOMAS KOSZUTA, and STANLEY OLEJNICZAK, and others stole items from the

Springville clubhouse, Victim B’s cellular phone and KMC vest were placed inside a burn

barrel outside the clubhouse at which time they were burned and destroyed.



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      (18)   On or about June 7, 2013, after defendant THOMAS KOSZUTA struck

Victim B in the head with a blunt object, other Kingsmen assisting defendant THOMAS

KOSZUTA used bleach to clean areas where Victim B bled, and cut and removed portions

of the rug which contained Victim B’s blood.

      (19)   As a result of the June 7, 2013 assault of Victim B and forcible removal of

property from the Springville Chapter clubhouse, defendant GREGORY WILLSON was

elevated to the position of Nomad within the KMC.

      (20)   Sometime before July 25, 2013, defendant EDGAR DEKAY, II called

Victim C, a former Kingsmen, and a person known to the Grand Jury, and demanded his

KMC patches. Later, that same day, four KMC members, including defendant SEAN

MCINDOO, went to Victim C’s house to demand his KMC patches.

      (21)   On or about August 3, 2013, defendants EDGAR DEKAY, II, GREGORY

WILLSON, THOMAS KOSZUTA, and SEAN MCINDOO, and others removed the seats

to defendant JACK WOOD’s van, loaded shotguns into the van, and drove to Springville,

New York to confront dismissed KMC members who were believed to be loyal to a former

KMC national president.

      (22)   On or about August 3, 2013, defendants EDGAR DEKAY, II, GREGORY

WILLSON, THOMAS KOSZUTA, and SEAN MCINDOO, and another person known

to the Grand Jury drove to the vicinity of the former Springville Chapter clubhouse and

fired a shotgun from the van at several former Springville KMC members and associates

who were standing outside the former Springville Chapter clubhouse.

      (23)   Sometime in 2013, defendant RYAN MYRTLE and another KMC member

known to the Grand Jury, distributed a group photograph of former Springville KMC



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members and gave orders to current Kingsmen members to “beat on sight” any former

Springville KMC members.

        (24)   At various times in or about 2013, defendant JACK WOOD’s garage at his

residence was utilized as the Delevan/Arcade KMC Chapter clubhouse, at which,

defendant JACK WOOD stored and maintained various firearms, including shotguns, for

availability and use by other KMC members fighting the former Springville members.

        (25)   On various Friday evenings in or about 2013, defendant, JACK WOOD,

used his garage to conduct church meetings for the Arcade/Delevan KMC Chapter.

        (26)   On or about August 9, 2013, defendant GREGORY WILLSON possessed a

loaded Taurus, Model 80, .38 caliber special revolver, thirty-four (34) rounds of .38 caliber

ammunition, approximately 7.90 grams of cocaine, a KMC vest with a Nomad patch and

the name “Flip,” and other items at 57 Humphrey Road, Upper Apartment, Buffalo, New

York.

        (27)   On or about August 9, 2013, defendant EDGAR DEKAY, II made efforts to

find out why the police were looking for defendant GREGORY WILLSON.

        (28)   In or about Fall 2013, defendant GREGORY WILLSON, using a telephone,

threatened Victim C, a person known to the Grand Jury, that he was going to be beaten or

found in a creek.

        (29)   On or about November 1, 2013, defendant THOMAS KOSZUTA and

another Kingsmen member punched, threatened with a gun, and attempted to remove the

vest of a former KMC member, Victim D, a person known to the Grand Jury, who wore a

“Brotherhood and Loyalty” patch on his KMC vest and was believed by defendant

THOMAS KOSZUTA to be loyal to a former Kingsmen National President.



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      (30)   On or about November 1, 2013, defendant THOMAS KOSZUTA and

another KMC member, known to the Grand Jury, possessed a knife and a loaded Raven .25

caliber semi-automatic handgun, inside a vehicle in which defendant THOMAS

KOSZUTA and another KMC member were traveling during the assault of Victim D.

      (31)   In or about January 2014, defendant FILIP CARUSO and another KMC

member traveled from New York to Florida on orders of defendant DAVID PIRK to assist

in recovering KMC colors from a KMC Chapter in Hernando Valley, Florida who “jumped

patch” from the KMC to the Pagans, a rival 1% motorcycle club.

      (32)   In or about January 2014, defendant FILIP CARUSO, armed with a Smith

and Wesson .32 caliber revolver and another KMC member travelled from New York to the

Deland, Florida KMC Chapter Clubhouse where defendant FILIP CARUSO, and others,

including defendant ANDRE JENKINS, loaded shotguns and rifles into a rental vehicle.

      (33)   In or about January 2014, defendants FILIP CARUSO and ANDRE

JENKINS, while armed with firearms travelled to a KMC Clubhouse in Leesburg, Florida,

met with KMC National President defendant DAVID PIRK, KMC Florida/Tennessee

Regional President defendant TIMOTHY ENIX, and others, and agreed that they would

get their KMC colors back from the Pagans by any means necessary, including murdering

Pagans and kidnapping Pagan Old Ladies.

      (34)   On or about February 24, 2014, defendant FILIP CARUSO, and others shut

down the Attica Chapter KMC clubhouse on defendant DAVID PIRK’s orders.

      (35)   On or about February 25, 2014, defendant FILIP CARUSO possessed a

loaded Smith and Wesson .32 caliber revolver, in Buffalo, New York.




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       (36)   In or about the summer of 2014, defendant FILIP CARUSO supplied a

Jennings 9mm, Model Bryco 59 firearm, to a KMC associate in order to satisfy a debt for

cocaine previously provided to defendant FILIP CARUSO.

       (37)   On or about August 3, 2014, Kingsmen members from the Northern Region

of New York, including defendants FILIP CARUSO, ED DEKAY, JASON WILLIAMS

and GLEN STACHARCZYK, and Paul Maue and others, obtained firearms from the

North Tonawanda Chapter KMC clubhouse and went to the South Buffalo Chapter KMC

clubhouse to confront defendant DAVID PIRK about KMC rule changes. During the

confrontation defendant FILIP CARUSO possessed a Kel-Tec firearm in his waistband and

several armed KMC members, who were in town from Florida, arrived to support

defendant DAVID PIRK during the confrontation.

       (38)   On or about August 3, 2014, after the confrontation at the South Buffalo

Chapter KMC clubhouse, KMC members from the Northern Region of New York,

including defendant FILIP CARUSO and Paul Maue and other KMC members, had a

meeting with defendant DAVID PIRK inside the South Buffalo Chapter clubhouse.

       (39)   In or about August 2014, defendant FILIP CARUSO and another KMC

member punched and struck fellow KMC member “Florida Joe” with a pool cue and a mag

light inside the Niagara Falls Chapter clubhouse.

       (40)   In or about August 2014, upon orders from defendant FILIP CARUSO,

KMC member Daniel “DJ” Szymanski struck KMC member Victim E, a person known to

the Grand Jury, with a two-by-four piece of wood because Victim E did not attend a

mandatory meeting in Jamestown, New York when a rival motorcycle club, known as the

Pagans, were in Jamestown, New York.



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      (41)   On or about September 1, 2014, defendants ANDRE JENKINS and DAVID

PIRK communicated via cellular telephone.

      (42)   On or about September 2, 2014, defendants ANDRE JENKINS and DAVID

PIRK communicated via cellular telephone.

      (43)   On or about September 2, 2014, defendant DAVID PIRK communicated via

cellular telephone with a KMC member of the Olean, New York KMC Chapter.

      (44)   In or about early September 2014, defendant ANDRE JENKINS borrowed a

Harley Davidson bagger-style motorcycle bearing Tennessee license plates from a KMC

member in Tennessee in order to travel to New York.

      (45)   On or about and between September 2, 2014, and September 3, 2014,

defendant ANDRE JENKINS traveled from Tennessee to the Olean, New York Chapter

clubhouse.

      (46)   On or about September 3, 2014, defendants ANDRE JENKINS and DAVID

PIRK, and another KMC member, known by the nickname, “Drifter” arrived in Olean,

New York at the Olean Chapter clubhouse.

      (47)   On or about September 3, 2014, KMC Olean Chapter President defendant

ROBERT OSBORNE, JR. and defendants DAVID PIRK and ANDRE JENKINS, and

another KMC member, had a closed door meeting inside the Olean Chapter clubhouse.

      (48)   On or about September 3-4, 2014, defendant ANDRE JENKINS possessed a

handgun inside the Olean Chapter clubhouse.

      (49)   On or about September 3-4, 2014, defendant ANDRE JENKINS had a

conversation with another KMC member about a female associate of the KMC member




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accompanying JENKINS to travel to Niagara Falls to obtain information from the Nickel

City Nomads.

      (50)     On or about September 4, 2014, defendant ANDRE JENKINS traveled to

Niagara Falls, New York, with a person known to the Grand Jury.

      (51)     On or about September 4, 2014, defendant ANDRE JENKINS told the

person known to the Grand Jury that they were going to attempt to collect information from

members of the Outlaws and the Nickel City Nomads, to pretend the person known to the

Grand Jury was from Tennessee, and to pretend that defendant ANDRE JENKINS was no

longer with the KMC.

      (52)     On or about September 4, 2014, defendant ANDRE JENKINS and the

person known to the Grand Jury met with several members of the Nickel City Nomads who

previously “jumped patch” from the KMC to the Nickel City Nomads.

      (53)     On or about September 4, 2014, defendant ANDRE JENKINS had two

cellular telephones and handed a pay as you go phone (“burner phone”) to the person

known to the Grand Jury and told that person, if anything happens to call “Pirk” using the

number stored in the phone.

      (54)     On or about September 5, 2014, after leaving a bar in North Tonawanda

attended by several members of the Nickel City Nomads, defendant ANDRE JENKINS

and the person known to the Grand Jury met with defendant DAVID PIRK and another

KMC member traveling with him.

      (55)     At all times on or about and between September 4, 2014, and September 6,

2014, defendant ANDRE JENKINS possessed a firearm.




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      (56)   On or about September 5, 2014, defendant ANDRE JENKINS discussed the

change in demeanor of the Nickel City Nomads towards him and stated that KMC

members Paul Maue and Daniel “DJ” Szymanski were the only ones who knew what he

was doing there.

      (57)   Sometime on or about and between September 4, 2014 and September 6,

2014, defendant DAVID PIRK told defendant ANDRE JENKINS to “take care of it” in

reference to killing Paul Maue and Daniel “DJ” Szymanski.

      (58)   On or about September 6, 2014, at approximately 2:42 a.m., defendant

DAVID PIRK called Paul Maue via cellular telephone after which Paul Maue and Daniel

“DJ” Szymanski exited out the North Tonawanda KMC Chapter clubhouse located at 322

Oliver Street, North Tonawanda, New York.

      (59)   On or about September 6, 2014, defendant ANDRE JENKINS shot and

killed Paul Maue and Daniel “DJ” Szymanski behind the North Tonawanda KMC Chapter

clubhouse.

      (60)   On or about September 6, 2014, defendant ANDRE JENKINS drove to the

Olean Chapter KMC clubhouse during which time he threw away the firearm used to kill

Paul Maue and Daniel “DJ” Szymanski while traveling on Route 219.

      (61)   On or about September 6, 2014, after defendant ANDRE JENKINS arrived

at the Olean Chapter clubhouse, another KMC member burned the clothing that defendant

ANDRE JENKINS was wearing when he shot and killed Paul Maue and Daniel “DJ”

Szymanski.

      (62)   At some point following the murders of Paul Maue and Daniel “DJ”

Szymanski on September 6, 2014, Olean Chapter President defendant ROBERT



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OSBORNE, JR. ordered the clubhouse video deleted to destroy evidence that defendant

ANDRE JENKINS and defendant DAVID PIRK were in the Olean clubhouse.

        (63)   On or about September 6-7, 2014, defendant ANDRE JENKINS traveled

from New York to Tennessee.

        (64)   At various times between September 5, 2014, and August 29, 2015, defendant

THOMAS SCANLON used a cellular telephone to communicate with defendant DAVID

PIRK.

        (65)   On or about September 6, 2014, defendant THOMAS SCANLON met with

defendant DAVID PIRK.

        (66)   On September 26, 2014, at 8:06 p.m., defendant ANDRE JENKINS called

defendant DAVID PIRK via cellular telephone.

        (67)   On November 10, 2014, defendant ANDRE JENKINS possessed a loaded

Bersa .380 caliber pistol in Darien, Georgia.

        (68)   In or about December 2014, defendants EMMETT GREEN and ROBERT

OSBORNE, JR., and other Olean Chapter Kingsmen members assaulted Victim F, a

person known to the Grand Jury.

        (69)   On or about July 31, 2015, defendant GREGORY WILLSON possessed a

Hi Point, Model JHP, .45 caliber handgun, twenty (20) rounds of .45 caliber ammunition,

ten (10) rounds of 7.62 caliber ammunition, one (1) round of .22 caliber ammunition, one

(1) round of .308 caliber ammunition, one (1) round of .38 caliber ammunition, a loaded .45

caliber magazine, and unloaded .45 caliber magazine, a loaded AK-47 magazine, an

unloaded AK-47 magazine, a fired .40 caliber shell case, marijuana, a full patch KMC




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Nomad vest, KMC by-laws, and other documents and items related to the KMC at 2936

Five Mile Road, Allegany, New York.

       (70)   On or about August 1, 2015, defendant GREGORY WILLSON, during a

telephone call from jail, requested a person known to the Grand Jury go to the Olean

Chapter clubhouse to inform chapter members about WILLSON’s arrest because his

cellular telephone, which was seized by law enforcement, contained phone numbers of his

fellow KMC members.

       (71)   On or about August 2, 2015, defendant GREGORY WILLSON, during a

telephone call from jail, requested a person known to the Grand Jury go to the Olean

Chapter KMC clubhouse to inform chapter members about WILLSON’s arrest because his

cellular telephone, which was seized by law enforcement, contained phone numbers of his

fellow KMC members.

       (72)   On or about August 26, 2015, defendant JACK WOOD possessed a hatchet

with a wooden handle, a Tasco sight scope, several knives, a Sears, Model M-300, 12 gauge

semi-automatic shotgun, a Marlin, Model 336W, .30-30 caliber lever-action rifle, pellet

guns, twenty-one (21) rounds of 7.62 x 39mm ammunition, three (3) boxes of .33 caliber

ammunition, four (4) rounds of 12 gauge shotgun ammunition, a musket, marijuana, a

marijuana bong, a marijuana pipe, and KMC meeting minutes at 2717 California Hill Road,

Delevan, New York.

       (73)   At various times between in or about 2010 and in or about 2014, defendants

FILIP CARUSO and JASON WILLIAMS, and others, maintained the premises known as

the Westside KMC Chapter clubhouse, located at 66 Peoria Street, Buffalo, New York, to

use, maintain, and distribute controlled substances, including cocaine and marijuana.



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        (74)   At various times between in or about 2010 and in or about 2014, defendants

FILIP CARUSO and JASON WILLIAMS, and others, stored firearms inside the premises

known as the Westside KMC Chapter clubhouse, located at 66 Peoria Street, Buffalo, New

York.

        (75)   At various times between in or about 2013 and in or about 2014, defendant

JASON WILLIAMS sold and distributed cocaine and marijuana inside the North

Tonawanda Chapter KMC clubhouse located at 322 Oliver Street, North Tonawanda, New

York.

        (76)   At various times between in or about 2008 and in or about 2014, defendants

EDGAR DEKAY, II, FILIP CARUSO, JASON WILLIAMS, GLEN STACHARCZYK

and RYAN MYRTLE, and others, maintained the premises known as the North

Tonawanda Chapter Kingsmen clubhouse located at 322 Oliver Street, North Tonawanda,

New York, to use, maintain, and distribute controlled substances, including cocaine and

marijuana.

        (77)   At various times between in or about 2008 and in or about 2014, defendants

EDGAR DEKAY, II, FILIP CARUSO, JASON WILLIAMS, GLEN STACHARCZYK

and RYAN MYRTLE, and others, stored firearms inside the premises known as the North

Tonawanda Chapter Kingsmen clubhouse located at 322 Oliver Street, North Tonawanda,

New York.

        (78)   At various times between in or about 2011 and in or about August 2015,

defendants ROBERT OSBORNE, JR. and THOMAS SCALON, and others, maintained

the premises known as the Olean Kingsmen Chapter clubhouse, located at 122 East Pine




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Street, Olean, New York, to use, maintain, and distribute controlled substances, including

cocaine and marijuana.

      (79)    At various times between in or about 2013 and in or about August 2015,

defendant EMMETT GREEN, and others, maintained the premises known as the

Delevan/Arcade Kingsmen Chapter clubhouse, located at 63 Main Street, Delevan, New

York, to use, maintain, and distribute controlled substances, including cocaine and

marijuana.

      (80)    In or about 2013, defendant EDGAR DEKAY, II purchased handguns inside

the North Tonawanda Chapter Kingsmen clubhouse located at 322 Oliver Street, North

Tonawanda, New York.

      (81)    At various times between in or about 2008 and in or about 2013, defendant

EDGAR DEKAY, II distributed cocaine inside the North Tonawanda Chapter Kingsmen

clubhouse located at 322 Oliver Street, North Tonawanda, New York.

      (82)    At various times between in or about 2009 and in or about 2014, defendant

FILIP CARUSO distributed cocaine and marijuana inside various Kingsmen Chapter

clubhouses.

      (83)    At various times between in or about 2013 and in or about 2015, defendant

EMMETT GREEN, and others, stored firearms inside the premises known as the

Delevan/Arcade Kingsmen Chapter clubhouse.

      (84)    At various times between in or about 2009 and in or about 2014, defendant

FILIP CARUSO possessed and sold firearms.

      (85)    At various times between in or about 2006 and in or about 2015, defendant

GREGORY WILLSON distributed cocaine, marijuana, and heroin.



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       (86)   At various times between in or about 2006 and in or about 2015, defendant

GREGORY WILLSON possessed and sold firearms.

       (87)   Beginning on a date unknown, but starting no later than the year 2006, and

continuing to the date of the return of this Second Superseding Indictment, defendants

DAVID PIRK, ANDRE JENKINS, TIMOTHY ENIX, FILIP CARUSO, EDGAR

DEKAY, II, JASON WILLIAMS, THOMAS KOSZUTA, GREGORY WILLSON,

EMMETT GREEN, ROBERT OSBORNE, JR., STANLEY OLEJNICZAK, JACK

WOOD, RYAN MYRTLE, THOMAS SCANLON, GLEN STACHARCZYCK, and

SEAN MCINDOO, and others, maintained the premises known as the South Buffalo

Chapter Kingsmen clubhouse located at 846/850 East Eagle Street, Buffalo, New York, to

use, maintain, and distribute controlled substances, including cocaine and marijuana.



              Notice of Special Sentencing Factors With Respect to Count 1

       1.     On or about September 6, 2014, in the Western District of New York,

defendants DAVID PIRK and ANDRE JENKINS, with intent to cause the death of

another person, did knowingly, intentionally, and unlawfully cause the death of Paul Maue

in violation of New York Penal Law Sections 125.25(1) and 20.



       2.     On or about September 6, 2014, in the Western District of New York,

defendants DAVID PIRK and ANDRE JENKINS, with intent to cause the death of

another person, did knowingly, intentionally, and unlawfully cause the death of Daniel

“DJ” Szymanski in violation of New York Penal Law Sections 125.25(1) and 20.

       All in violation of Title 18, United States Code, Section 1962(d).



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                                        COUNT 2

              (Possession of Firearms in Furtherance of Crime of Violence)

                         The Grand Jury Further Charges That:

       Beginning in or before 2006, and continuing until on or about the date of the return

of this Second Superseding Indictment, the defendants, DAVID PIRK, ANDRE JENKINS

a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze, FILIP CARUSO a/k/a Filly,

EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a Toop,

THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, EMMETT

GREEN, ROBERT OSBORNE, JR., STANLEY OLEJNICZAK, JACK WOOD a/k/a

Jake a/k/a Snake, RYAN MYRTLE, THOMAS SCANLON a/k/a Tom, GLEN

STACHARCZYCK a/k/a Turbo, and SEAN MCINDOO a/k/a Professor, in

furtherance of a crime of violence for which they may be prosecuted in a court of the United

States, that is, a violation of Title 18, United States Code, Sections 1962(d), committed in

the manner set forth in Count 1 of this Second Superseding Indictment the allegations of

which are incorporated herein by reference, did knowingly and unlawfully possess firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                                        COUNT 3

                           (Conspiracy to Distribute Cocaine)

                     The Grand Further Jury Further Charges That:

       Between in or about 2010, the exact date being unknown, and on or about August 9,

2013, in the Western District of New York, and elsewhere, the defendant, GREGORY



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WILLSON a/k/a Flip, did knowingly, willfully and unlawfully combine, conspire and

agree with others, known and unknown to the Grand Jury, to commit the following

offenses, that is, to possess with intent to distribute, and to distribute, a quantity of cocaine,

a Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 846.



                                           COUNT 4

                       (Possession with Intent to Distribute Cocaine)

                           The Grand Jury Further Charges That:

       On or about August 9, 2013, in the Western District of New York, the defendant,

GREGORY WILLSON a/k/a Flip, did knowingly, intentionally and unlawfully possess

with the intent to distribute a quantity of cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C), and Title 18, United States Code, Section 2.



                                           COUNT 5

                    (Using and Maintaining Premises for Drug Dealing)

                           The Grand Jury Further Charges That:

       Beginning in or about October 2012 and continuing to on or about August 9, 2013,

in the Western District of New York, the defendant, GREGORY WILLSON a/k/a Flip,

did knowingly, intentionally and unlawfully use and maintain a place, that is, the premises




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at 57 Humphrey Road, upper apartment, Buffalo, New York, for the purpose of

manufacturing, distributing and using cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                         COUNT 6

                                 (Distribution of Marijuana)

                          The Grand Jury Further Charges That:

       Beginning in or before 2009 and continuing until on or about July 31, 2015, in the

Western District of New York, the defendant, GREGORY WILLSON a/k/a Flip, did

knowingly, intentionally and unlawfully possess with the intent to distribute, and distribute,

a quantity of marijuana, a Schedule I controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(D), and Title 18, United States Code, Section 2.



                                         COUNT 7

           (Possession of Firearms in Furtherance of Drug Trafficking Crimes)

                          The Grand Jury Further Charges That:

       Beginning in or before 2009 and continuing until on or about July 31, 2015, in the

Western District of New York, the defendant, GREGORY WILLSON a/k/a Flip, in

furtherance of drug trafficking crimes for which he may be prosecuted in a court of the

United States, that is, violations of Title 21, United States Code, Sections 846, 841(a)(1),

and 856(a)(1), committed in the manner set forth in Counts 3, 4, 5, and 6 of this Second



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Superseding Indictment, the allegations of which are incorporated herein by reference, did

knowingly and unlawfully possess firearms.

      All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                                       COUNT 8

                            (Felon in Possession of Firearm)

                         The Grand Jury Further Charges That:

      On or about August 9, 2013, in the Western District of New York, the defendant,

GREGORY WILLSON a/k/a Flip, having been convicted on or about May 8, 2002, in

the United States District Court for the Western District of New York, and on or about

October 12, 1993; on or about January 11, 1994; and on or about February 3, 1999, in

County Court, Cattaraugus County, New York, of crimes punishable by imprisonment for a

term exceeding one year, unlawfully did knowingly possess, in and affecting commerce, a

firearm, namely, a Taurus, Model 80, .38 caliber Special revolver, bearing serial number

708150.

      All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and

2.



                                       COUNT 9

                   (Felon in Possession of Firearm and Ammunition)

                         The Grand Jury Further Charges That:

      On or about July 31, 2015, in the Western District of New York, the defendant,

GREGORY WILLSON a/k/a Flip, having been convicted on or about May 8, 2002, in



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the United States District Court for the Western District of New York, and on or about

October 12, 1993; on or about January 11, 1994; and on or about February 3, 1999, in

County Court, Cattaraugus County, New York, of crimes punishable by imprisonment for a

term exceeding one year, unlawfully did knowingly possess, in and affecting commerce, a

firearm, namely, a Hi Point, Model JHP, .45 caliber semi-automatic handgun, bearing serial

number X491425, and ammunition, namely, sixteen (16) rounds of Federal .45 caliber

ammunition; two (2) rounds of CCI .45 caliber ammunition; one (1) round of REM-UMC

.45 caliber ammunition; one (1) round of R-P .45 caliber ammunition; one (1) round of R-P

.22 caliber ammunition; one round of R-P .38 caliber ammunition; one (1) round of PS over

1950 .303 caliber ammunition; and ten (10) rounds of 3 over 96 7.62 mm ammunition.

      All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and

2.



                                       COUNT 10

                                (Hobbs Act Conspiracy)

                         The Grand Jury Further Charges That:

      Beginning in or about June 2013, the exact date being unknown to the Grand Jury,

and continuing to on or about June 7, 2013, in the Western District of New York, and

elsewhere, the defendants, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS

KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, and STANLEY

OLEJNICZAK, did knowingly, willfully and unlawfully combine, conspire and agree with

others known and unknown, to obstruct, delay and affect commerce, as that term is defined

in Title 18, United States Code, Section 1951(b)(3), and the movement of articles and



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commodities in commerce by robbery, as that term is defined in Title 18, United States

Code, Section 1951(b)(1), and extortion, as that term is defined in Title 18, United States

Code, Section 1951(b)(2), in particular, the robbery and extortion of assets, including a

mobile telephone, firearms, a flat screen television, bottles of liquor, cases of beer,

Kingsmen Motorcycle Club t-shirts, Kingsmen Motorcycle Club vests, Kingsmen

Motorcycle Club patches, a Kingsmen Motorcycle Club ring, and cigarettes, from Victim B,

a person known to the Grand Jury, and other members and associates of the Springville

Kingsmen Clubhouse located at 7935 Route 39, Springville, New York.

       All in violation of Title 18, United States Code, Section 1951(a).



                                        COUNT 11

                                   (Hobbs Act Robbery)

                          The Grand Jury Further Charges That:

       On or about June 7, 2013, in the Western District of New York, and elsewhere, the

defendants, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA

a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, and STANLEY OLEJNICZAK, and

others, did unlawfully obstruct, delay and affect, and attempt to obstruct, delay and affect,

commerce, as that term is defined in Title 18, United States Code, Section 1951(b)(3), and

the movement of articles and commodities in such commerce, by robbery, as that term is

defined in Title 18, United States Code, Section 1951(b)(1), in that the defendants, ED

DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA a/k/a Kazoo,

GREGORY WILLSON a/k/a Flip, and STANLEY OLEJNICZAK, and others, did

unlawfully take and obtain personal property, consisting of a mobile telephone, firearms, a



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flat screen television, bottles of liquor, cases of beer, Kingsmen Motorcycle Club t-shirts,

Kingsmen Motorcycle Club vests, Kingsmen Motorcycle Club patches, a Kingsmen

Motorcycle Club ring, and cigarettes, from the person of and in the presence of Victim B, a

person known to the Grand Jury, and other members and associates of the Springville

Kingsmen Clubhouse located at 7935 Route 39, Springville, New York, against their will by

means of actual and threatened force, violence, and fear of injury, immediate and future, to

Victim B and other members and associates of the Springville Kingsmen Clubhouse located

at 7935 Route 39, Springville, New York, that is, by striking Victim B in the head with a

blunt object causing injury and by outnumbering the other members and associates of the

Springville Kingsmen Clubhouse while armed with firearms.

       All in violation of Title 18, United States Code, Sections 1951(a) and 2.



                                        COUNT 12

               (Assault with a Dangerous Weapon in Aid of Racketeering)

                         The Grand Jury Further Charges That:

       1.     At all times relevant to this Second Superseding Indictment, there existed an

enterprise, the Kingsmen Motorcycle Club enterprise, as more fully described in Paragraphs

1 through 27 and 30 of Count 1 of this Second Superseding Indictment, which are realleged

and incorporated by reference as though set forth fully herein. The KMC including its

leadership, members and associates constituted an enterprise as defined in Title 18, United

States Code, Section 1959(b)(2), that is, a group of individuals associated in fact that was

engaged in, and the activities of which affected, interstate and foreign commerce. The




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enterprise constituted an ongoing organization whose members functioned as a continuing

unit for a common purpose of achieving the objectives of the enterprise.



       2.     At all times relevant to this Second Superseding Indictment, the above-

described enterprise, the Kingsmen Motorcycle Club, through its members and associates,

engaged in racketeering activity as defined in Title 18, United States Code, Sections

1959(b)(1) and 1961(1), namely,

       a.     Multiple threats and acts involving:

              (1)    Murder, in violation of New York Penal Law                         Sections
                     125.27(1)(a)(viii), 125.25(1),100.10, 105.15, 110 and 20;

              (2)    Murder, in violation of Florida Statutes Annotated Section
                     782.04(1)(a)(1), 782.04(1)(a)(2)(d)-(f), and 777.04(1)-(3);

              (3)    Robbery, in violation of New York Penal Law Sections 160.15(1),
                     160.15(2), 160.15(3), 160.15(4), 160.10(1), 160.10(2),105.10, 105.13,
                     105.15, 110, and 20;

              (4)    Robbery, in violation of Florida Statutes Annotated Sections
                     812.13(1), and 777.04(1)-(3), and

              (5)    Kidnapping, in violation of Florida Statutes Annotated Sections
                     787.01(1)(a)(1)-(3), and 777.04(1)-(3).

       b.     Multiple offenses involving the manufacture, importation, receiving,
              concealment, selling, and distribution of controlled substances in violation of
              the following provisions of federal law:

              (1)    Title 21, United States Code, Section 846 (Conspiracy to Possess with
                     Intent to Distribute, and to Distribute, Controlled Substances);

              (2)    Title 21, United States Code, Section 841(a)(1) (Possession with Intent
                     to Distribute, and Distribution, of Controlled Substances); and

              (3)    Title 21, United States Code, Section 856(a)(1) (Maintaining Drug
                     Involved Premises).

       c.     Multiple acts indictable under the following provisions of federal law:


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             (1)    Title 18, United States Code, Section 1503 (Obstruction of Justice);

             (2)    Title 18, United States Code, Section 1512(a) (Witness Tampering);

             (3)    Title 18, United States Code, section 1951(a) (Hobbs Act Robbery);
             and

             (4)   Title 18, United States Code, Section 2342(a) (Trafficking of
             Contraband Cigarettes).



      3.     On or about June 7, 2013, in the Western District of New York, the

defendants, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA

a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, and STANLEY OLEJNICZAK,

together with others, known and unknown, for the purpose of maintaining and increasing

position within the KMC enterprise, an enterprise engaged in racketeering activity, did

knowingly and unlawfully assault Victim B, a person known to the Grand Jury, with a

dangerous weapon, in violation of New York Penal Law Sections 120.05(1), 120.05(2), 110

and 20.

      All in violation of Title 18, United States Code, Sections 1959(a)(3) and 2.



                                       COUNT 13

            (Use of a Firearm During and in Relation to Crimes of Violence)

                        The Grand Jury Further Charges That:

      On or about June 7, 2013, in the Western District of New York, the defendants,

EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA a/k/a Kazoo,

GREGORY WILLSON a/k/a Flip, and STANLEY OLEJNICZAK, during and in

relation to crimes of violence for which they may be prosecuted in a court of the United



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States, that is, violations of Title 18, United States Code, Sections 1951(a) and 1959(a)(3),

committed in the manner as set forth in Counts 10, 11, and 12 of this Second Superseding

Indictment, the allegations of which are incorporated herein by reference, did knowingly

and unlawfully use, carry, and brandish, and in furtherance of such crimes, did knowingly

and unlawfully possess and brandish, firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 2.



                                         COUNT 14

                        (Attempted Murder in Aid of Racketeering)

                          The Grand Jury Further Charges That:

       1.     Paragraphs 1 and 2 of Count 12 of this Second Superseding Indictment are

realleged and incorporated by reference as though set forth fully herein.



       2.     On or about August 3, 2013, in the Western District of New York, the

defendants, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA

a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, and SEAN MCINDOO a/k/a

Professor, together with others, for the purpose of maintaining and increasing position

within the KMC enterprise, an enterprise engaged in racketeering activity, did unlawfully

attempt to murder former Kingsmen Springville Chapter members and associates, in

violation of New York Penal Law Sections 125.25(1), 110 and 20.

       All in violation of Title 18, United States Code, Sections 1959(a)(5) and 2.




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                                         COUNT 15

                 (Assault with a Dangerous Weapon in Aid of Racketeering)

                           The Grand Jury Further Charges That:

         1.    Paragraphs 1 and 2 of Count 12 of this Second Superseding Indictment are

realleged and incorporated by reference as though set forth fully herein.



         2.    On or about August 3, 2013, in the Western District of New York, the

defendants, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA

a/k/a Kazoo, GREGORY WILLSON a/k/a Flip, and SEAN MCINDOO a/k/a

Professor, together with others, for the purpose of maintaining and increasing position

within the KMC enterprise, an enterprise engaged in racketeering activity, did unlawfully

assault and attempt to assault former Kingsmen Springville Chapter members and associates

with a dangerous weapon, in violation of New York Penal Law Sections 120.00, 120.05(1)-

(2), 120.14, 120.15, 110 and 20.

         All in violation of Title 18, United States Code, Sections 1959(a)(3) and 1959(a)(6)

and 2.



                                         COUNT 16

     (Use and Discharge of a Firearm During and in Relation to Crimes of Violence)

                           The Grand Jury Further Charges That:

         On or about August 3, 2013, in the Western District of New York, the defendants,

EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, THOMAS KOSZUTA a/k/a Kazoo,

GREGORY WILLSON a/k/a Flip, and SEAN MCINDOO a/k/a Professor, together



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with others, during and in relation to crimes of violence for which they may be prosecuted

in a court of the United States, that is, violations of Title 18, United States Code, Sections

1959(a)(5), 1959(a)(3) and 1959(a)(6), committed in the manner as set forth in Counts 14

and 15 of this Second Superseding Indictment, the allegations of which are incorporated

herein by reference, did knowingly and unlawfully use, carry, brandish, and discharge, and

in furtherance of such crimes, did knowingly and unlawfully possess, brandish, and

discharge a firearm.

         All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(iii) and 2.



                                          COUNT 17

                 (Assault with a Dangerous Weapon in Aid of Racketeering)

                           The Grand Jury Further Charges That:

         1.     Paragraphs 1 and 2 of Count 12 of this Second Superseding Indictment are

realleged and incorporated by reference as though set forth fully herein.



         2.     On or about November 1, 2013, in the Western District of New York, the

defendant, THOMAS KOSZUTA a/k/a Kazoo, for the purpose of maintaining and

increasing position within the KMC enterprise, an enterprise engaged in racketeering

activity, did knowingly and unlawfully assault and attempt to assault Victim D, a person

known to the Grand Jury, with a dangerous weapon, in violation of New York Penal Law

Sections 120.05(1)-(2), 120.14, 120.15, 110 and 20.

         All in violation of Title 18, United States Code, Sections 1959(a)(3), 1959(a)(6)

and 2.



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                                         COUNT 18

            (Use of a Firearm During and in Relation to a Crime of Violence)

                          The Grand Jury Further Charges That:

       On or about November 1, 2013, in the Western District of New York, the defendant,

THOMAS KOSZUTA a/k/a Kazoo, during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, a violation of Title 18,

United States Code, Sections 1959(a)(3) and 1959(a)(6), committed in the manner as set

forth in Count 17 of this Second Superseding Indictment, the allegations of which are

incorporated herein by reference, did knowingly and unlawfully use, carry, and brandish,

and in furtherance of such crime, did knowingly and unlawfully possess and brandish, a

firearm, namely a Raven Arms, Model P-25, .25 caliber semi-automatic pistol, bearing serial

number 598480.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 2.



                                         COUNT 19

                              (Murder in Aid of Racketeering)

                          The Grand Jury Further Charges That:

       1.     Paragraphs 1 and 2 of Count 12 of this Second Superseding Indictment are

realleged and incorporated by reference as though set forth fully herein.



       2.     On or about September 6, 2014, in the Western District of New York,

defendants, DAVID PIRK and ANDRE JENKINS a/k/a Little Bear, for the purpose of

maintaining and increasing position within the KMC enterprise, an enterprise engaged in



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racketeering activity, did knowingly and unlawfully murder Paul Maue, in violation of New

York Penal Law Sections 125.25(1) and 20.

       All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.



                                         COUNT 20

                              (Murder in Aid of Racketeering)

                          The Grand Jury Further Charges That:

       1.     Paragraphs 1 and 2 of Count 12 of this Second Superseding Indictment are

realleged and incorporated by reference as though set forth fully herein.



       2.     On or about September 6, 2014, in the Western District of New York,

defendants, DAVID PIRK and ANDRE JENKINS a/k/a Little Bear, for the purpose of

maintaining and increasing position within the KMC enterprise, an enterprise engaged in

racketeering activity, did knowingly and unlawfully murder Daniel “DJ” Szymanski, in

violation of New York Penal Law Sections 125.25(1) and 20.

       All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.



                                         COUNT 21

                         (Possession and Discharge of Firearm in
                            Furtherance of Crime of Violence)

                          The Grand Jury Further Charges That:

       On or about September 6, 2014, in the Western District of New York, the

defendants, DAVID PIRK and ANDRE JENKINS a/k/a Little Bear, during and in

relation to a crime of violence for which they may be prosecuted in a court of the United


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States, that is, a violation of Title 18, United States Code, Section 1959(a)(1), committed in

the manner set forth in Count 19 of this Second Superseding Indictment, the allegations of

which are incorporated herein by reference, did knowingly and unlawfully use, carry and

discharge, and in furtherance of such crime, did knowingly and unlawfully possess and

discharge, a firearm, in violation of Title 18, United States Code, Section 924(c)(1)(A)(iii),

and that in the course of this violation, the defendants, DAVID PIRK and ANDRE

JENKINS a/k/a Little Bear, caused the death of a person through the use of a firearm,

which killing was a murder as defined in Title 18, United States Code, Section 1111, in that

the defendants, with malice aforethought, did willfully, deliberately, maliciously, and with

premeditation kill Paul Maue, by shooting him with a firearm.

         All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(iii), 924(j)

and 2.



                                         COUNT 22

                          (Possession and Discharge of Firearm in
                             Furtherance of Crime of Violence)

                           The Grand Jury Further Charges That:

         On or about September 6, 2014, in the Western District of New York, the

defendants, DAVID PIRK and ANDRE JENKINS a/k/a Little Bear, during and in

relation to a crime of violence for which they may be prosecuted in a court of the United

States, that is, a violation of Title 18, United States Code, Section 1959(a)(1), committed in

the manner set forth in Count 20 of this Second Superseding Indictment, the allegations of

which are incorporated herein by reference, did knowingly and unlawfully use, carry and

discharge, and in furtherance of such crime, did knowingly and unlawfully possess and


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discharge, a firearm, in violation of Title 18, United States Code, Section 924(c)(1)(A)(iii),

and that in the course of this violation, the defendants, DAVID PIRK and ANDRE

JENKINS a/k/a Little Bear, caused the death of a person through the use of a firearm,

which killing was a murder as defined in Title 18, United States Code, Section 1111, in that

the defendants, with malice aforethought, did willfully, deliberately, maliciously, and with

premeditation kill Daniel “DJ” Szymanski, by shooting him with a firearm.

         All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(iii), 924(j)

and 2.



                                         COUNT 23

                              (Felon in Possession of a Firearm)

                           The Grand Jury Further Charges That:

         Between on or about September 4, 2014, and on or about September 6, 2014, in the

Western District of New York, the defendant, ANDRE JENKINS a/k/a Little Bear,

having previously been convicted on or about June 2, 1998, and on or about September 8,

2010, in Circuit Court, Second Judicial Circuit, County of Minnehaha, South Dakota, of

crimes punishable by imprisonment for a term exceeding one year, unlawfully did

knowingly possess, in and affecting commerce, a firearm, namely, a Glock, Model 19, 9mm

semi-automatic handgun, bearing serial number PWT451.

         All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).




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                                       COUNT 24

                                (Accessory After the Fact)

                         The Grand Jury Further Charges That:

       Beginning in or about September 2014 and continuing until on or about July 15,

2015, in the Western District of New York, the defendant, ROBERT OSBORNE, JR.,

knowing that an offense against the United States has been committed, that is, murder in

aid of racketeering by David Pirk and Andre Jenkins a/k/a Little Bear, in violation of Title

18, United States Code, Section 1959(a)(1), committed in the manner set forth in Counts 19

and 20 of this Second Superseding Indictment, the allegations of which are incorporated

herein by reference, did receive, relieve, comfort, and assist the offenders, David Pirk and

Andre Jenkins a/k/a Little Bear, in order to hinder and prevent their apprehension, trial,

and punishment.

       All in violation of Title 18, United States Code, Section 3.



                                       COUNT 25

                                 (Obstruction of Justice)

                         The Grand Jury Further Charges That:

       On or about July 15, 2015, in the Western District of New York, the defendant,

ROBERT OSBORNE, JR., did corruptly obstruct, influence, and impede, and attempt to

corruptly obstruct, influence, and impede, an official proceeding, that is, a Grand Jury

investigation of RICO Conspiracy and Murder in Aid of Racketeering, in violation of Title

18, United States Code, Sections 1962(d) and 1959(a)(1), committed in the manner set forth

in Counts 1, 19, and 20 of this Second Superseding Indictment, the allegations of which are



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incorporated herein by reference, by testifying falsely as to whether David Pirk was in

Olean, New York, in September 2014, and by further testifying falsely about whether the

defendant had a meeting with David Pirk, Andre Jenkins a/k/a Little Bear, and another

Kingsmen member inside the Olean Kingsmen Chapter Clubhouse in early September 2014.

      All in violation of Title 18, United States Code, Section 1512(c)(2).



                                      COUNT 26

                                (Obstruction of Justice)

                         The Grand Jury Further Charges That:

      On or about July 15, 2015, in the Western District of New York, the defendant,

ROBERT OSBORNE, JR., did corruptly influence, obstruct and impede, and endeavor to

influence, obstruct and impede the due administration of justice in investigations being

conducted by a Grand Jury and the Federal Bureau of Investigation in the Western District

of New York, by testifying falsely and evasively as to whether David Pirk was in Olean,

New York, in September 2014, and by further testifying falsely about whether he had a

meeting with David Pirk, Andre Jenkins a/k/a Little Bear, and another Kingsmen member

inside the Olean Kingsmen Chapter Clubhouse in early September 2014.

      All in violation of Title 18, United States Code, Section 1503.




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                                        COUNT 27

                                  (Obstruction of Justice)

                          The Grand Jury Further Charges That:

       Between on or about July 15, 2015, and on or about September 16, 2015, in the

Western District of New York, the defendant, THOMAS SCANLON a/k/a Tom, did

corruptly obstruct, influence, and impede, and attempt to corruptly obstruct, influence, and

impede, an official proceeding, that is, a Grand Jury investigation of RICO Conspiracy,

Hobbs Act Robbery, Assault with a Dangerous Weapon in Aid of Racketeering, and

Murder in Aid of Racketeering, in violation of Title 18, United States Code, Sections

1962(d), 1951(a), 1959(a)(3), and 1959(a)(1), committed in the manner set forth in Counts

1, 10, 11, 12, 19, and 20 of this Second Superseding Indictment, the allegations of which are

incorporated herein by reference, by testifying falsely regarding (i) his knowledge of the

Kingsmen Motorcycle Club; (ii) his relationship with David Pirk; (iii) the amount of

communication he had and maintained with David Pirk; (iv) his telephone contact with

David Pirk on September 6, 2014; (v) his meeting with David Pirk on September 6, 2014, in

Delevan, New York; (vi) the role of the Kingsmen Nomads; (vii) his knowledge of the

shutdown of the Springville Chapter Kingsmen clubhouse on June 7, 2013; (viii) the assault

of Victim B, a person known to the Grand Jury and robbery at the Springville Chapter

Kingsmen clubhouse on June 7, 2013; (ix) the purpose and substance of his meeting with

the Outlaws in Olean, New York, in the summer of 2014; and (x) his role in the Kingsmen

Motorcycle Club.

       All in violation of Title 18, United States Code, Section 1512(c)(2).




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                                       COUNT 28

                                 (Obstruction of Justice)

                         The Grand Jury Further Charges That:

      Between on or about July 15, 2015, and on or about September 16, 2015, in the

Western District of New York, the defendant, THOMAS SCANLON a/k/a Tom, did

corruptly influence, obstruct and impede, and endeavor to influence, obstruct and impede

the due administration of justice in investigations being conducted by a Grand Jury and the

Federal Bureau of Investigation in the Western District of New York, by testifying falsely

and evasively regarding (i) his knowledge of the Kingsmen Motorcycle Club; (ii) his

relationship with David Pirk; (iii) the amount of communication he had and maintained

with David Pirk; (iv) his telephone contact with David Pirk on September 6, 2014; (v) his

meeting with David Pirk on September 6, 2014, in Delevan, New York; (vi) the role of the

Kingsmen Nomads; (vii) his knowledge of the shutdown of the Springville Chapter

Kingsmen clubhouse on June 7, 2013; (viii) the assault of Victim B, a person known to the

Grand Jury and robbery at the Springville Chapter Kingsmen clubhouse on June 7, 2013;

(ix) the purpose and substance of his meeting with the Outlaws in Olean, New York, in the

summer of 2014; and (x) his role in the Kingsmen Motorcycle Club.

      All in violation of Title 18, United States Code, Section 1503.




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                                          COUNT 29

             (False Statements Before Grand Jury- Irreconcilable Statements)

                           The Grand Jury Further Charges That:

       1.      On or about September 16, 2015, in the Western District of New York, the

defendant, THOMAS SCANLON a/k/a Tom, while testifying under oath in a proceeding

before a duly empaneled and sworn Grand Jury for the United States District Court in the

Western District of New York, knowingly made a material declaration which was

inconsistent with a prior material declaration made by the defendant THOMAS

SCANLON a/k/a Tom while testifying under oath in a proceeding before a duly

empaneled and sworn Grand Jury for the United States District Court of the Western

District of New York on or about July 15, 2015, such material declarations being

inconsistent to the degree that one of them was necessarily false.



       2.      It was material to each of the proceedings described in paragraph 1 to

determine whether the defendant THOMAS SCANLON a/k/a Tom had seen David Pirk

at any time during the week following the murders of Paul Maue and Daniel “DJ”

Szymanski on September 6, 2014.



       3.      The defendant THOMAS SCANLON a/k/a Tom, on or about July 15,

2015, while testifying under oath in a proceeding before a duly empaneled and sworn Grand

Jury for the United States District Court of the Western District of New York, knowingly

testified with respect to a material matter as follows:




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       Q:     Okay. Was there on September 6th again, those shootings were in the
              very early morning hours of September 6, 2014. Was there a party
              later that day?

       A:     Where?

       Q:     Out in Springville on California Road.

       A:     Honestly, I don’t know.

       Q:     But you didn’t attend any functions, any Kingsmen functions?

       A:     That whole week I was home with my wife and my family.



       4.     The defendant THOMAS SCANLON a/k/a Tom, on or about September

16, 2015, while testifying under oath in a proceeding before a duly empaneled and sworn

Grand Jury for the United States District Court of the Western District of New York,

knowingly testified with respect to a material matter as follows:

       Q:     Okay. How long had it been since you personally saw or met with Pirk
              to that time?

       A:     I've seen him briefly.

       Q:     At what point?

       A:     It was at a party that took place in De1evan. He was in a vehicle
              leaving. I was coming to the party. That was the only time that I'd seen
              him.

       Q:     This would have been after the murders, correct?

       A:     Yes.

       Q:     Later that same day, there was a party in Delevan?

       A:     I don’t know if it was the same day, but I know there was a party in
              Delevan. I don't know exactly. I want to say it was a Saturday maybe.

       Q:     So the party is close in time to the murders, but after the murders,
              whether it was the same day or the next?


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       A:     Yes, it was a prescheduled party that was would have been taken place
              after the deaths of my brothers.

                                             ***

       Q:     But you didn’t stop and talk or anything like that?

       A:     I think I shook his hand and he was saying he was leaving and that
              was really about it. It wasn’t like, you know, he was in a vehicle.

                                             ***

       Q:     Now, that party you attended later that evening, that was at Snake’s
              house in Delevan?

       A:     Yes.

       Q:     And for a time his garage was sort of a makeshift clubhouse in
              Delevan?

       A:     Temporarily. Yes.

       Q:     And his house is on California Hill Road, correct?

       A:     Yes.



       5.     The material declarations of defendant THOMAS SCANLON a/k/a Tom

quoted in paragraphs 3 and 4 herein were irreconcilably contradictory and were material to

the point in question in each of the proceedings before which such declarations were made.

       All in violation of Title 18, United States Code, Section 1623(c).




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                                          COUNT 30

             (False Statements Before Grand Jury- Irreconcilable Statements)

                           The Grand Jury Further Charges That:

        1.     On or about September 16, 2015, in the Western District of New York, the

defendant, THOMAS SCANLON a/k/a Tom, while testifying under oath in a proceeding

before a duly empaneled and sworn Grand Jury for the United States District Court in the

Western District of New York, knowingly made a material declaration which was

inconsistent with a prior material declaration made by the defendant THOMAS

SCANLON a/k/a Tom while testifying under oath in a proceeding before a duly

empaneled and sworn Grand Jury for the United States District Court of the Western

District of New York on or about July 15, 2015, such material declarations being

inconsistent to the degree that one of them was necessarily false.



        2.     It was material to each of the proceedings described in paragraph 1 to

determine whether defendant THOMAS SCANLON a/k/a Tom had any information

about the shutdown of the Springville Kingsmen Chapter clubhouse on or about June 7,

2013.



        3.     The defendant THOMAS SCANLON a/k/a Tom, on or about July 15,

2015, while testifying under oath in a proceeding before a duly empaneled and sworn Grand

Jury for the United States District Court of the Western District of New York, knowingly

testified with respect to a material matter as follows:

        Q:     Now, in the summer of 2013 there was a chapter in Springville?



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       A:     Yes. The chapter was from my understanding closed.

       Q:     Did you hear anything about the details of how the club was shut
              down? Was there any violence involved?

       A:     I don’t know any details, I wasn’t there.



       4.     The defendant THOMAS SCANLON a/k/a Tom, on or about September

16, 2015, while testifying under oath in a proceeding before a duly empaneled and sworn

Grand Jury for the United States District Court of the Western District of New York,

knowingly testified with respect to a material matter as follows:

       Q:     I’d like to bounce back, and I apologize, but to the incident in
              Springville with Tirk (sic). We alluded to it last time. You’re aware he
              had gotten beat up in Springville and essentially he was out of the club,
              correct?

       A:     That’s correct.

       Q:     Now, regarding that incident I just want to follow-up, who told you
              about that occurring?

       A:     Well, I can give you my side of things.

       Q:     Were you there or did someone tell you? And we’ll go from there.

       A:     I showed up to Springville.

       Q:     Okay, explain what happened?

       A:     And then when I pulled up off the street, I seen that there were
              vehicles already there. I seen you know, it’s about 150-200 feet, 200
              feet from the actual road. So I pulled up and I seen people scattering
              around the property like ants, fire ants. I don’t remember specifically
              the individuals there. I want to say that well, Springville was
              obviously there, and I seen the Springville insignia sign was taken off
              the building. I realized what the hell just happened that the chapter
              was essentially shutdown.




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      5.     The material declarations of THOMAS SCANLON a/k/a Tom quoted in

paragraphs 3 and 4 herein were irreconcilably contradictory and were material to the point

in question in each of the proceedings before which such declarations were made.

      All in violation of Title 18, United States Code, Section 1623(c).



                                         COUNT 31

                (User of Controlled Substance in Possession of Firearms)

                         The Grand Jury Further Charges That:

      On or about August 26, 2015, in the Western District of New York, the defendant,

JACK WOOD a/k/a Jake a/k/a Snake, then being an unlawful user of a controlled

substance as defined in Title 21, United States Code, Section 802, namely marijuana, a

Schedule I controlled substance, unlawfully did knowingly possess, in and affecting

commerce, firearms, namely, a Sears, Model M-300, 12 gauge semi-automatic shotgun,

bearing serial number Q119758, and a Marlin, Model 336W, .30-30 caliber lever-action

rifle, bearing serial number MR97219C.

      All in violation of Title 18, United States Code, Sections 922(g)(3), 924(a)(2), and

2.



                                         COUNT 32

                  (Using and Maintaining Premises for Drug Dealing)

                         The Grand Jury Further Charges That:

      Beginning in or about 2013 and continuing to on or about August 26, 2015, in the

Western District of New York, the defendant, JACK WOOD a/k/a Jake a/k/a Snake,



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did knowingly, intentionally and unlawfully use and maintain a place, that is, the premises

at 2717 California Hill Road, Delevan, New York, for the purpose of manufacturing,

distributing and using marijuana, a Schedule I controlled substance, and cocaine, a

Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                       COUNT 33

           (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                         The Grand Jury Further Charges That:

       Beginning in or about 2013 and continuing until on or about August 26, 2015, in the

Western District of New York, the defendant, JACK WOOD a/k/a Jake a/k/a Snake, in

furtherance of a drug trafficking crime for which he may be prosecuted in a court of the

United States, that is, a violation of Title 21, United States Code, Section 856(a)(1),

committed in the manner set forth in Count 32 of this Second Superseding Indictment, the

allegations of which are incorporated herein by reference, did knowingly and unlawfully

possess firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.




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                                         COUNT 34

                                  (Distribution of Cocaine)

                           The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing until in or about September 2014, the

exact dates being unknown, in the Western District of New York, the defendant, FILIP

CARUSO a/k/a Filly, did knowingly, intentionally and unlawfully possess with the intent

to distribute, and distribute, a quantity of cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C), and Title 18, United States Code, Section 2.



                                         COUNT 35

                                 (Distribution of Marijuana)

                           The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing until in or about September 2014, the

exact dates being unknown, in the Western District of New York, the defendant, FILIP

CARUSO a/k/a Filly, did knowingly, intentionally and unlawfully possess with the intent

to distribute, and distribute, a quantity of marijuana, a Schedule I controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(D), and Title 18, United States Code, Section 2.




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                                         COUNT 36

           (Possession of Firearms in Furtherance of Drug Trafficking Crimes)

                          The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing until in or about September 2014, the

exact dates being unknown, in the Western District of New York, the defendant, FILIP

CARUSO a/k/a Filly, in furtherance of drug trafficking crimes for which he may be

prosecuted in a court of the United States, that is, violations of Title 21, United States Code,

Section 841(a)(1), committed in the manner set forth in Counts 34 and 35 of this Second

Superseding Indictment, the allegations of which are incorporated herein by reference, did

knowingly and unlawfully possess firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                                         COUNT 37

                   (Using and Maintaining Premises for Drug Dealing)

                          The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing to in or about 2014, the exact dates being

unknown, in the Western District of New York, the defendants, FILIP CARUSO a/k/a

Filly and JASON WILLIAMS a/k/a Toop, did knowingly, intentionally and unlawfully

use and maintain a place, that is, the premises known as the West Side Kingsmen Chapter

Clubhouse, located at 66 Peoria Street, Buffalo, New York, for the purpose of

manufacturing, distributing and using marijuana, a Schedule I controlled substance, and

cocaine, a Schedule II controlled substance.




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       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                         COUNT 38

           (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                          The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing to in or about 2014, the exact dates being

unknown, in the Western District of New York, the defendants, FILIP CARUSO a/k/a

Filly and JASON WILLIAMS a/k/a Toop, in furtherance of a drug trafficking crime for

which they may be prosecuted in a court of the United States, that is, a violation of Title 21,

United States Code, Section 856(a)(1), committed in the manner set forth in Count 37 of

this Second Superseding Indictment, the allegations of which are incorporated herein by

reference, did knowingly and unlawfully possess firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2



                                         COUNT 39

                   (Using and Maintaining Premises for Drug Dealing)

                          The Grand Jury Further Charges That:

       Beginning in or before 2008 and continuing to in or about 2014, the exact dates being

unknown, in the Western District of New York, the defendants, FILIP CARUSO a/k/a

Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a

Toop, RYAN MYRTLE, and GLEN STACHARCZYK a/k/a Turbo, did knowingly,

intentionally and unlawfully use and maintain a place, that is, the premises known as the



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North Tonawanda Kingsmen Chapter Clubhouse, located at 322 Oliver Street, North

Tonawanda, New York, for the purpose of manufacturing, distributing and using

marijuana, a Schedule I controlled substance, and cocaine, a Schedule II controlled

substance.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                       COUNT 40

             (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                          The Grand Jury Further Charges That:

       Beginning in or about 2008 and continuing until in or about 2014, in the Western

District of New York, the defendants, FILIP CARUSO a/k/a Filly, EDGAR DEKAY, II

a/k/a Ed a/k/a Special Ed, JASON WILLIAMS a/k/a Toop, RYAN MYRTLE, and

GLEN STACHARCZYK a/k/a Turbo, in furtherance of a drug trafficking crime for

which they may be prosecuted in a court of the United States, that is, a violations of Title

21, United States Code, Section 856(a)(1), committed in the manner set forth in Count 39 of

this Second Superseding Indictment, the allegations of which are incorporated herein by

reference, did knowingly and unlawfully possess firearms.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.




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                                        COUNT 41

                   (Using and Maintaining Premises for Drug Dealing)

                          The Grand Jury Further Charges That:

       Beginning in or before 2011 and continuing to in or about August 2015, the exact

dates being unknown, in the Western District of New York, the defendants, ROBERT

OSBORNE, JR. and THOMAS SCANLON a/k/a Tom, did knowingly, intentionally and

unlawfully use and maintain a place, that is, the premises known as the Olean Kingsmen

Chapter Clubhouse, located at 122 East Pine Street, Olean, New York, for the purpose of

manufacturing, distributing and using marijuana, a Schedule I controlled substance, and

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                        COUNT 42

           (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                          The Grand Jury Further Charges That:

       Beginning in or before 2011 and continuing until on or about August 26, 2015, the

exact dates being unknown, in the Western District of New York, the defendants, ROBERT

OSBORNE, JR. and THOMAS SCANLON a/k/a Tom, in furtherance of a drug

trafficking crime for which they may be prosecuted in a court of the United States, that is, a

violation of Title 21, United States Code, Section 856(a)(1), committed in the manner set

forth in Count 41 of this Second Superseding Indictment, the allegations of which are

incorporated herein by reference, did knowingly and unlawfully possess firearms.



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       All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                                       COUNT 43

                    (Using and Maintaining Premises for Drug Dealing)

                          The Grand Jury Further Charges That:

       Beginning in or before 2013 and continuing to in or about August 2015, the exact

dates being unknown, in the Western District of New York, the defendant, EMMETT

GREEN, did knowingly, intentionally and unlawfully use and maintain a place, that is, the

premises known as the Delevan/Arcade Kingsmen Chapter Clubhouse, located at 63 Main

Street, Delevan, New York, for the purpose of manufacturing, distributing and using

marijuana, a Schedule I controlled substance, and cocaine, a Schedule II controlled

substance.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                                       COUNT 44

             (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                          The Grand Jury Further Charges That:

       Beginning in or before 2010 and continuing until in or about September 2014, in the

Western District of New York, the defendant, EMMETT GREEN, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States, that is, a

violation of Title 21, United States Code, Sections 856(a)(1), committed in the manner set




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forth in Count 43 of this Second Superseding Indictment, the allegations of which are

incorporated herein by reference, did knowingly and unlawfully possess firearms.

        All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                                        COUNT 45

                    (Using and Maintaining Premises for Drug Dealing)

                          The Grand Jury Further Charges That:

        Beginning on a date unknown, but starting no later than the year 2006, and

continuing to the date of the return of this Second Superseding Indictment, the defendants,

DAVID PIRK, ANDRE JENKINS a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze,

FILIP CARUSO a/k/a Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON

WILLIAMS a/k/a Toop, THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON

a/k/a     Flip,   EMMETT        GREEN,       ROBERT       OSBORNE,        JR.,   STANLEY

OLEJNICZAK, JACK WOOD a/k/a Jake a/k/a Snake, RYAN MYRTLE, THOMAS

SCANLON a/k/a Tom, GLEN STACHARCZYCK a/k/a Turbo, and SEAN

MCINDOO a/k/a Professor, and others, known and unknown, did knowingly,

intentionally, and unlawfully use and maintain a place, that is, the premises known as the

South Buffalo Chapter Kingsmen clubhouse located at 846/850 East Eagle Street, Buffalo,

New York, for the purpose of manufacturing, distributing, and using cocaine, a Schedule II

controlled substance, and marijuana, a Schedule I controlled substance.

        All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.




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                                         COUNT 46

            (Possession of Firearms in Furtherance of Drug Trafficking Crime)

                           The Grand Jury Further Charges That:

        Beginning on a date unknown, but starting no later than the year 2006, and

continuing to the date of the return of this Second Superseding Indictment, the defendants,

DAVID PIRK, ANDRE JENKINS a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze,

FILIP CARUSO a/k/a Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON

WILLIAMS a/k/a Toop, THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON

a/k/a     Flip,   EMMETT        GREEN,       ROBERT       OSBORNE,        JR.,    STANLEY

OLEJNICZAK, JACK WOOD a/k/a Jake a/k/a Snake, RYAN MYRTLE, THOMAS

SCANLON a/k/a Tom, GLEN STACHARCZYCK a/k/a Turbo, and SEAN

MCINDOO a/k/a Professor, and others, known and unknown, in furtherance of a drug

trafficking crime for which they may be prosecuted in a court of the United States, that is, a

violation of Title 21, United States Code, Section 856(a)(1), committed in the manner set

forth in Count 45 of this Second Superseding Indictment, the allegations of which are

incorporated herein by reference, did knowingly and unlawfully possess firearms.

        All in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and 2.



                          FIRST FORFEITURE ALLEGATION

                                      (Rico Forfeiture)

                               The Grand Jury Alleges That:

        Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given that the United States

will seek forfeiture as part of any sentence, in the event of any defendants’ conviction under



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Count 1 of this Second Superseding Indictment, in that defendants, DAVID PIRK,

ANDRE JENKINS a/k/a Little Bear, TIMOTHY ENIX a/k/a Blaze, FILIP CARUSO

a/k/a Filly, EDGAR DEKAY, II a/k/a Ed a/k/a Special Ed, JASON WILLIAMS

a/k/a Toop, THOMAS KOSZUTA a/k/a Kazoo, GREGORY WILLSON a/k/a Flip,

EMMETT GREEN, ROBERT OSBORNE JR., STANLEY OLEJNICZAK, JACK

WOOD a/k/a Jake a/k/a Snake, RYAN MYRTLE, THOMAS SCANLON a/k/a

Tom, GLEN STACHARCZYCK a/k/a Turbo, and SEAN MCINDOO a/k/a

Professor,

       a.     have acquired and maintained interests in violation of Title 18, United States

Code, Section 1962, which interests are subject to forfeiture to the United States pursuant to

Title 18, United States Code, Section 1963(a)(1);

       b.     have an interest in, security of, claims against and property and contractual

rights of any kind that afford a source of influence over, the enterprise as described herein,

which defendants established, operated, controlled, conducted, and participated in the

conduct of, in violation of Title 18, United States Code, Section 1962, therefore are subject

to forfeiture to the United States pursuant to Title 18, United States Code, Section

1963(a)(2), and

       c.     have any property constituting, and derived from any proceeds which the

person obtained, directly and indirectly, from racketeering activity in violation of section

1962 and therefore subject to forfeiture to the United States pursuant to Title 18, United

States Code, Section 1963(a)(3).

       This property includes, but is not limited, to the following:




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                   Firearms, Weapons, And Ammunition

 a)    One (1) Winchester 30-30 round of ammunition recovered on or about
       August 26, 2015, from 122 E. Pine Street, Olean NY;
 b)    One pistol grip, seized on or about August 26, 2015, from 846/850
       East Eagle Street, Buffalo, New York;

 c)    One (1) holster, .22 magazine with ammunition and miscellaneous
       ammunition, one (1) BB Bun, container of BBs and targets, recovered
       on or about August 26, 2015, from 322 Oliver Street, North
       Tonawanda, New York;

 d)    Forty (40) Remington 12 gauge shotgun shells, one (1) Winchester
       12gauge shotgun shell and one (1) Federal 20 gauge shotgun shell, one
       (1) Bandolier, one (1) 24" rifled barrel (from Mossberg 12 gauge), three
       (3) shotgun shells and one (1) holster recovered on or about August 26,
       2015 from 63 North Main Street, Delevan, NY;

 e)    One (1) AK-47 type magazines containing ten (10) 7.62X39 caliber
       cartridges and one (1) empty AK-47 type magazine, three (3) rounds of
       ammunition (.22/.38/.308), one rifle scope, twenty (20) .rounds 45
       caliber ammunition, two (2) magazines, one Hi Point pistol, Model
       JHP, 45 ACP caliber, SN: X491425, and one (1) shell casing;
       recovered on or about July 31, 2015 from 2936 Five Mile Road, Lot
       No. 4, Allegany, New York.;

 f)    One (1) Connecticut Valley Arms Rifle Make: Optimum Model:
       Magnum Caliber: .50 SN: 61-13-02-10-22-08 with attached one (1)
       Tasco 3-9 X 32 scope, Model: Silver Antler (no SN visible) recovered
       from 2717 California Hill Road, Delavan, New York on August 26,
       2015;

 g)    One (1) Rifle Make: Marlin Model: 336w Caliber: 30/30win SN:
       MR97219c with attached one (1) scope x 40 magnification, (no SN
       visible) recovered from 2717 California Hill Road, Delavan, New
       York on August 26, 2015;

 h)    One (1) Rifle Make: Benjamin Model: Titan Caliber: .22 SN:
       N11XO3325 with attached Center Pointe 4 X 32 sight, SN: S111201
       recovered from 2717 California Hill Road, Delavan, New York on
       August 26, 2015;

 i)    One Sears Roebuck and Co. Automatic Shotgun, Model: 300 Caliber:
       12 Gauge SN: Q119758 with attached one (1) Tasco Pro Point Sight
       recovered from 2717 California Hill Road, Delavan, New York on
       August 26, 2015;


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      j)     One (1) Tasco Sight Scope recovered from 2717 California Hill Road,
             Delavan, New York on August 26, 2015;

      k)     One (1) Musket, make: Pedersoli, Caliber: .50 – (No Model or Serial
             Number) recovered from 2717 California Hill Road, Delavan, New
             York on August 26, 2015;

      l)     Six (6) knives, one (1) hatchet, three (3) boxes of .33 caliber
             ammunition and four (4) rounds of 12 gauge ammunition recovered
             from 2717 California Hill Road, Delavan, New York on August 26,
             2015;

      m)     One (1) 7.62 X 39 round of ammunition recovered from 2717
             California Hill Road, Delavan, New York on August 26, 2015;

      n)     Twenty (20) rounds of Winchester 762 X 39 ammunition recovered
             from 2717 California Hill Road, Delavan, New York on August 26,
             2015;

      o)     One pellet gun (no identifying information) recovered from 2717
             California Hill Road, Delavan, New York on August 26, 2015;

      p)     One Taurus, Model 80, .38 caliber special revolver, SN: 708150, with
             six (6) rounds .38 caliber ammunition recovered from 57 Humphrey
             Road, Upper Apartment, Buffalo, New York on or about August 9,
             2013, and previously in the custody of the Erie County Sheriff’s Office;

      q)     One (1) single shot pistol (with no identifiable make, model, serial or
             caliber) recovered from a Confidential Source on or about September
             8, 2015;

      r)     One (1) knife recovered from the person of GREGORY WILSON on
             or about October 1, 2013 in Orchard Park, New York, previously held
             by the Erie County Sheriff’s Office; and

      s)     One (1) Raven Arms, semi-automatic pistol, Model P-25, .25 caliber,
             SN: 598480 with ammunition and one (1) magazine.

      All pursuant to Title 18, United States Code, Sections 1963(a), 1963(m) and 3665,

and Title 28, United States Code, Section 2461.




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                         SECOND FORFEITURE ALLEGATION

                                   (Firearms/Ammunition)

                            The Grand Jury Further Alleges That:

       Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given that the United States

will seek forfeiture as part of any sentence, of the following firearms and ammunition:

       In the event of JACK WOOD a/k/a Jake a/k/a Snake’s conviction under either or

both of Counts 31 and 33 of this Second Superseding Indictment the defendant shall forfeit

his right, title and interest to the United States of any firearms and ammunition involved or

used in the commission of the offense, or found in the possession or under his immediate

control at the time of arrest, including, but not limited to:

       a)      One (1) Connecticut Valley Arms Rifle Make: Optimum Model:
               Magnum Caliber: .50 SN: 61-13-02-10-22-08 with attached one (1)
               Tasco 3-9 X 32 scope, Model: Silver Antler (no SN visible) recovered
               from 2717 California Hill Road, Delavan, New York on August 26,
               2015;

       b)      One (1) Rifle Make: Marlin Model: 336w Caliber: 30/30 SN:
               MR97219C with attached one (1) scope x 40 magnification, (no visible
               serial number) recovered from 2717 California Hill Road, Delavan,
               New York on August 26, 2015;

       c)      One (1) Rifle Make: Benjamin Model: Titan Caliber: .22 SN:
               N11xo3325 with attached Center Pointe 4 X 32 sight, SN: S111201
               recovered from 2717 California Hill Road, Delavan, New York on
               August 26, 2015;

       d)      One Automatic Shotgun Make: Sears Roebuck and Co. Model: 300
               Caliber: 12 Gauge SN: Q119758 with attached one (1) Tasco Pro
               Point Sight;

       e)      Three (3) boxes of .33 caliber ammunition and four (4) rounds of 12
               gauge recovered from 2717 California Hill Road, Delavan, New York
               on August 26, 2015;




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       f)      One (1) 7.62 X 39 round of ammunition recovered from 2717
               California Hill Road, Delavan, New York on August 26, 2015; and

       g)      Twenty (20) rounds of Winchester 762 X 39 ammunition recovered
               from 2717 California Hill Road, Delavan, New York on August 26,
               2015.

       All pursuant to Title 18, Sections 924(d)(1) and 3665; and Title 28, United States

Code, Section 2461.



                          THIRD FORFEITURE ALLEGATION

                                    (Firearm/Ammunition)

                            The Grand Jury Further Alleges That:

       In the event of GREGORY WILLSON a/k/a Flip’s conviction under any or all of

Counts 7, 8, and 9 of this Second Superseding Indictment the defendant shall forfeit his

right, title and interest to the United States of any firearms and ammunition involved or

used in the commission of the offense, or found in the possession or under his immediate

control at the time of arrest, including, but not limited to:

       a)      One Taurus, Model 80, 38 special revolver, caliber: .38, SN: 708150,
               with six (6) rounds .38 caliber ammunition recovered from 57
               Humphrey Road, Upper Apartment, Buffalo, New York on or about
               August 9, 2013, and previously in the custody of Erie County Sheriff’s
               Office.

       b)      One (1) AK-47 type magazines containing ten (10) 7.62X39 caliber
               cartridges and one (1) empty AK-47 type magazine, three (3) rounds of
               ammunition (.22/.38/.308), one rifle scope, twenty (20) .rounds 45
               caliber ammunition, two (2) magazines, one Hi Point pistol, Model
               JHP, 45 ACP caliber, SN: X491425, and one (1) shell casing;
               recovered on or about July 31, 2015 from 2936 Five Mile Road, Lot
               No. 4, Allegany, New York.

       All pursuant to Title 18, Sections 924(d)(1) and 3665; and Title 28, United States

Code, Section 2461.


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                         FOURTH FORFEITURE ALLEGATION

                                    (Firearm/Ammunition)

                            The Grand Jury Further Alleges That:

       In the event of THOMAS KOSZUTA a/k/a Kazoo’s conviction under either or

both of Counts 17 and 18 of this Second Superseding Indictment the defendant shall forfeit

his right, title and interest to the United States of any firearms and ammunition involved or

used in the commission of the offense, or found in the possession or under his immediate

control at the time of arrest, including, but not limited to:

               One (1) Raven Arms, Model P-25, semi-automatic pistol, .25 caliber, SN:
               598480 with ammunition and one (1) magazine.

       All pursuant to Title 18, Sections 924(d)(1) and 3665; and Title 28, United States

Code, Section 2461.



                 NOTICE OF SPECIAL FINDINGS FOR DAVID PIRK
                     (Count 19 through and including Count 22)

       1)      The allegations of Counts 19 through and including Count 22 of this Second

Superseding Indictment are hereby realleged as if fully set forth herein and incorporated by

reference.


       2)      As Count 19 through and including Count 22 of this Second Superseding

Indictment, the defendant, DAVID PIRK:

       a)      was 18 years of age or older at the time of the offense(s) (Title 18,
               United States Code, Section 3591(a));

       b)      intentionally participated in an act, contemplating that the life of a
               person would be taken or intending that lethal force would be used in
               connection with a person, other than one of the participants in the


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              offense, and the victims, Paul Maue and Daniel Szymanski, died as a
              direct result of the act (Title 18, United States Code, Section
              3591(a)(2)(C));

       c)     intentionally and specifically engaged in an act of violence, knowing
              that the act created a grave risk of death to a person, other than one of
              the participants in the offenses, such that participation in the act
              constituted a reckless disregard for human life and the victims, Paul
              Maue and Daniel Szymanski, died as a direct result of the act (Title 18,
              United States Code, Section 3591(a)(2)(D)); and

       d)     committed the offense after substantial planning and premeditation to
              cause the death of a person (Title 18, United States Code, Section
              3592(c)(9)).

       Pursuant to Title 18, United States Code, Sections 3591 and 3592.



    NOTICE OF SPECIAL FINDINGS FOR ANDRE JENKINS a/k/a Little Bear
                 (Count 19 through and including Count 22)

       1)     The allegations of Counts 19 through and including Count 22 of this Second

Superseding Indictment are hereby realleged as if fully set forth herein and incorporated by

reference.


       2)     As Count 19 through and including Count 22 of this Second Superseding

Indictment, the defendant, ANDRE JENKINS a/k/a Little Bear:

       a)     was 18 years of age or older at the time of the offense(s) (Title 18,
              United States Code, Section 3591(a));

       b)     intentionally participated in an act, contemplating that the life of a
              person would be taken or intending that lethal force would be used in
              connection with a person, other than one of the participants in the
              offense, and the victims, Paul Maue and Daniel Szymanski, died as a
              direct result of the act (Title 18, United States Code, Section
              3591(a)(2)(C));

       c)     intentionally and specifically engaged in an act of violence, knowing
              that the act created a grave risk of death to a person, other than one of


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           the participants in the offenses, such that participation in the act
           constituted a reckless disregard for human life and the victims, Paul
           Maue and Daniel Szymanski, died as a direct result of the act (Title 18,
           United States Code, Section 3591(a)(2)(D)); and

     d)    committed the offense after substantial planning and premeditation to
           cause the death of a person (Title 18, United States Code, Section
           3592(c)(9)).

     Pursuant to Title 18, United States Code, Sections 3591 and 3592.


     DATED: Buffalo, New York, March 16, 2016.


                                               WILLIAM J. HOCHUL, JR.
                                               United States Attorney

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A TRUE BILL:


S/FOREPERSON




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